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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                             Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.



                        Michael Flynn’s Opposition to and
                       Motion to Deny Notice of Intent to File
                       Motion for Leave to File Amicus Brief

         On May 11, 2020, a group referring to itself as “Watergate Prosecutors” submitted

to the Court by email a Notice of Intent to File Motion for Leave to File Brief as Amicus

Curiae.1 However, this Court has consistently—on twenty-four (24) previous occasions—

summarily refused to permit any third party to inject themselves or their views into this

case. Exhibit A. The proposed amicus brief has no place in this Court. No rule allows

the filing, and the self-proclaimed collection of “Watergate Prosecutors” has no cognizable

special interest.   Separation of powers forecloses their appearance here.          Only the

Department of Justice and the defense can be heard.            Accordingly, the Watergate

Prosecutors’ attempted filing itself should not be registered on the docket, and any

attempt by the group or any individual to make a filing in this case must be denied—as all

others have been.



1The Watergate Prosecutors’ Notice also referred to this Court’s Local Criminal Rules,
LCrR 57.6, but, as will be seen, applied for no relief other than permission to file an amicus
brief. They do not have “a dog in this hunt” any more than do the former “Whitewater”
prosecutors or the “Clinton impeachment” prosecutors.

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      1. No Rule Allows the Requested Participation.

      The third-party purports to file its uninvited Notice of Intent to File pursuant to

LCrR 57.6, which allows interested persons who are not parties or subpoenaed witnesses

to apply for relief relating to a criminal proceeding. But the rule nowhere suggests that

that relief may include filing an amicus brief by anyone who disagrees with the parties.

To the contrary, in this Court such briefs are contemplated only on the civil side of the

docket. See LCvR 7(o) (which governs Motions for Leave to File Amicus Briefs in civil

proceedings). That rule has no analog in either the Federal Rules of Criminal Procedure

or the Local Criminal Rules of this Court.

      Under the canon of statutory construction expressio unius est exclusio alterius, the

express mention of amicus briefs on the civil side must be understood to exclude them on

the criminal side. See Adirondack Med. Ctr. v. Sebelius, 740 F.3d 692, 697 (D.C. Cir.

2014) (“the canon's relevance and applicability must be assessed within the context of the

entire statutory framework” (emphasis added), rather than in isolation or out of context).

      2. Separation of Powers Forecloses Any Third-Party Filing in This Case
         and Court.

      It is no accident that amicus briefs are excluded in criminal cases. A criminal case

is a dispute between the United States and a criminal defendant. There is no place for

third parties to meddle in the dispute, and certainly not to usurp the role of the

government’s counsel. For the Court to allow another to stand in the place of the

government would be a violation of the separation of powers. See Morrison v. Olson, 487

U.S. 654 (1988), holding that courts cannot appoint executive officers and may only

appoint special prosecutors in limited circumstances.




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       Morrison was a dispute about the constitutionality of the Independent Counsel

Act, but the heart of matter was really the dispute over executive authority and the

separation of powers. The Supreme Court approved the constitutionality of the Act in an

almost unanimous opinion, but Justice Antonin Scalia’s lone dissent on the separation of

powers won the day in the long run. Scalia noted that the “prosecution of crimes is a

quintessentially executive function,” id. at 706, and that “It is not for us to determine, and

we have never presumed to determine, how much of the purely executive powers of

government must be within the full control of the President. The Constitution prescribes

that they all are.” Id. at 709. The Morrison mistake was evident almost immediately, and

just over a decade later, Attorney General Janet Reno testified against the renewal of the

Independent Counsel Act. In the course of that testimony, she adopted Justice Scalia’s

foundational point in his Morrison dissent. She testified:

       Our Founders believed that the enormity of the prosecutorial power -- and all the
       decisions about who, what, and whether to prosecute -- should be vested in one
       who is responsible to the people. That way,-- and here I'm paraphrasing Justice
       Scalia's dissent in Morrison v. Olson - whether we're talking about over prosecuting
       or under-prosecuting, "the blame can be assigned to someone who can be
       punished.’     Statement of Janet Reno Att'y Gen. Before the Comm. on
       Governmental Affairs U.S. S., Concerning the Indep. Couns. Act (Mar. 17,
       1999), https://www.justice.gov/archive/ag/testimony/1999/aggovern031799.ht
       m.

       Moreover, Eric Holder, then Deputy Attorney General and now partner at

Covington and Burling LLP—whose representation underlies many issues in this case,

also testified against the Act, noting that it “tilted the constitutional balance of powers,”

and there were “fundamental structural flaws with the Act.” Holder noted that to

take “from the Attorney General jurisdiction that she has not knowingly ceded to another

. . . would trammel upon the Executive's core prosecution power.” Prepared Remarks for




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Deputy    Attn'y   Gen.   Eric   Holder,   House    Judiciary   Sub    comm.    (Mar.    2,

1999) https://www.justice.gov/archive/dag/testimony/ictestimonydag.htm.

       This fundamental principle—that the Constitution vests in the executive all the

prosecutorial power and the corresponding accountability—is now universally accepted.

       3. The “Watergate Prosecutors Have No Cognizable Special Interest.

       This is a case of extraordinary national and international interest. There are

countless people—including former prosecutors on both sides of the parties—who would

like to express their views, but there are many reasons there is no provision for outsiders

to join a criminal case in this Court. Of course, the former prosecutors are all free to

submit opinion pieces to assorted media outlets—as many have already done—but this

Court is not a forum for their alleged special interest. The “Watergate Prosecutors” have

no special role and no authority whatsoever to insert themselves in this litigation on

behalf of anyone. They are no different than all those whose requests and attempts this

Court has quickly and resoundingly denied.

       4. This Court Has Consistently Rejected and Denied All Similar
          Attempts or Filings.

       As set out in Exhibit A, this Court, on twenty-four specific occasions has rejected

all prior attempts of other parties who have claimed an interest to intervene in this case

in any way—as it should have. Exhibit A. Its December 20, 2017, Minute Order stands

out. There this Court wrote:

       MINUTE ORDER. This Court has received several motions to intervene/file an
       amicus brief along with letters in support from a private individual who is neither
       a party to this case nor counsel of record for any party. The Federal Rules of
       Criminal Procedure do not provide for intervention by third parties in criminal
       cases. The Court recognizes that the movant sincerely believes that he has
       information to share that bears on this case, and that, understandably, he wishes
       to be heard. Options exist for a private citizen to express his views about matters



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       of public interest, but the Court's docket is not an available option. The docket is
       the record of official proceedings related to criminal charges brought by the United
       States against an individual who has pled guilty to a criminal offense. For the
       benefit of the parties in this case and the public, the docket must be maintained in
       an orderly fashion and in accordance with court rules. The movant states that he
       disagrees with the similar Minute Order issued by Judge Berman Jackson in
       Criminal Case Number 17-201, but the contrary legal authority on which he relies
       is neither persuasive nor applicable. Therefore, the Clerk is directed not to docket
       additional filings submitted by the would-be intervenor. If the individual seeks
       relief from this Court's rulings, he must appeal the rulings to the United States
       Court of Appeals for the District of Columbia Circuit. Signed by Judge Emmet G.
       Sullivan on 12/20/2017. (lcegs3) (Entered: 12/20/2017).

       Moreover, this travesty of justice has already consumed three or more years of an

innocent man’s life—and that of his entire family. No further delay should be tolerated or

any further expense caused to him and his defense. This Court should enter the order

proposed by the government immediately.

       For the same reasons, leave to file must be denied, the Notice should be stricken,

and any effort of third parties to intervene for any purpose should be rejected for the same

reasons as all prior attempts by third parties have been.

Dated: May 12, 2020                       Respectfully submitted,

 /s/ Jesse R. Binnall                      /s/ Sidney Powell
 Jesse R. Binnall                          Sidney Powell
 Lindsay R. McKasson                       Molly McCann
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                           CERTIFICATE OF SERVICE

      I hereby certify that on May 12, 2020 a true and genuine copy of the foregoing was

served via electronic mail by the Court’s CM/ECF system to all counsel of record,

including:

      Jocelyn Ballantine, Assistant U.S. Attorney
      555 4th Street, NW
      Washington, D.C. 20530

      And was sent via email to the following:

      Lawrence S. Robbins
      Lee Turner Friedman
      D. Hunter Smith
      ROBBINS, RUSSELL, ENGLERT,
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                                                 Respectfully submitted,

                                                 /s/ Jesse R. Binnall
                                                 Jesse R. Binnall, VSB# 79272
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                                                 jbinnall@harveybinnall.com




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The below chart contains identical relevant docket entries.

 11          12/13/2017 "LEAVE TO FILE DENIED-Motion to Intervene/Friend of the
                        Court/Amicus Brief" Signed by Judge Emmet G. Sullivan on
                        12/13/2017 as to MICHAEL T. FLYNN. This document is
                        unavailable as the Court denied its filing. (hsj)
 12          12/13/2017 "LEAVE TO FILE DENIED-Motion to Intervene/Friend of the
                        Court/Amicus Brief (Fruit of the Poisonous Tree) of a Sitting
                        President and His Family" Signed by Judge Emmet G.
                        Sullivan on 12/13/2017 as to MICHAEL T. FLYNN. This
                        document is unavailable as the Court denied its filing.. (hsj)
 13          12/13/2017 "LEAVE TO FILE DENIED-Supplemental Motion to
                        Intervene/Friend of the Court Brief/Amicus Brief" Signed by
                        Judge Emmet G. Sullivan on 12/13/2017 as to MICHAEL T.
                        FLYNN. This document is unavailable as the Court denied its
                        filing. (hsj)
            12/20/2017 MINUTE ORDER. This Court has received several motions to
                       intervene/file an amicus brief along with letters in support
                       from a private individual who is neither a party to this case
                       nor counsel of record for any party. The Federal Rules of
                       Criminal Procedure do not provide for intervention by third
                       parties in criminal cases. The Court recognizes that the
                       movant sincerely believes that he has information to share
                       that bears on this case, and that, understandably, he wishes to
                       be heard. Options exist for a private citizen to express his
                       views about matters of public interest, but the Court's docket
                       is not an available option. The docket is the record of official
                       proceedings related to criminal charges brought by the United
                       States against an individual who has pled guilty to a criminal
                       offense. For the benefit of the parties in this case and the
                       public, the docket must be maintained in an orderly fashion
                       and in accordance with court rules. The movant states that he
                       disagrees with the similar Minute Order issued by Judge
                       Berman Jackson in Criminal Case Number 17-201, but the
                       contrary legal authority on which he relies is neither
                       persuasive nor applicable. Therefore, the Clerk is directed not
                       to docket additional filings submitted by the would-be
                       intervenor. If the individual seeks relief from this Court's
                       rulings, he must appeal the rulings to the United States Court
                       of Appeals for the District of Columbia Circuit. Signed by
                       Judge Emmet G. Sullivan on 12/20/2017. (lcegs3) (Entered:
                       12/20/2017)

 14         12/20/2017 "LEAVE TO FILE DENIED" by Judge Emmet G. Sullivan on
                       12/20/2017, letter regarding Special Counsel Robert Mueller


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                     as to MICHAEL T. FLYNN. This document is unavailable as
                     the Court denied its filing. (hsj)
15       12/20/2017 LEAVE TO FILE DENIED by Judge Emmet G. Sullivan on
                    12/20/2017, Notice of Appeal Dated 12/15/2017 as to
                    MICHAEL T. FLYNN. This document is unavailable as the
                    Court denied its filing. (hsj)
17       01/15/2018 LEAVE TO FILE DENIED- Vast Right-Wing United Way
                    Cabal Infiltrating & Undermining Trump Law & Order
                    Cabinet as to MICHAEL T. FLYNN. This document is
                    unavailable as the Court denied its filing. Signed by Judge
                    Emmet G. Sullivan on 1/15/18. (tl)


23       03/16/2018 LEAVE TO FILE DENIED- Letter Regarding Censorship and
                    Violations of the Constitution as to MICHAEL T. FLYNN.
                    "Leave to File Denied" by Judge Emmet G. Sullivan on
                    3/16/2016. This document is unavailable as the Court denied
                    its filing. Signed by Judge Emmet G. Sullivan on 3/16/2018.
                    (hsj)
24       03/16/2018 LEAVE TO FILE DENIED-Epiphany as to MICHAEL T.
                    FLYNN. "Leave to File Denied" by Judge Emmet G. Sullivan
                    on 3/16/2018. This document is unavailable as the Court
                    denied its filing. Signed by Judge Emmet G. Sullivan on
                    3/16/2018. (hsj)
25       03/16/2018 LEAVE TO FILE DENIED-Letter Regarding the Plea as to
                    MICHAEL T. FLYNN. "Leave to File Denid" by Judge Emmet
                    G. Sullivan on 3/16/2018. This document is unavailable as the
                    Court denied its filing. Signed by Judge Emmet G. Sullivan on
                    3/16/2018. (hsj)
26       03/16/2018 LEAVE TO FILE DENIED-Letter Regarding Two New York
                    Times as to MICHAEL T. FLYNN. "Leave to File Denied" by
                    Judge Emmet G. Sullivan on 3/16/2018. This document is
                    unavailable as the Court denied its filing..Signed by Judge
                    Emmet G. Sullivan on 3/16/2018. (hsj)
27       03/16/2018 LEAVE TO FILE DENIED-Motion for Reconsideration as to
                    MICHAEL T. FLYNN. "Leave to File Denied" by Judge Emmet
                    G. Sullivan on 3/16/2018. This document is unavailable as the
                    Court denied its filing. Signed by Judge Emmet G. Sullivan on
                    3/16/2018. (hsj)
28       03/19/2018 LEAVE TO FILE DENIED- Mankind's Death Certificate was
                    Signed on October 12, 2050 with not so much asa Whimper.
                    as to MICHAEL T. FLYNN. "Leave to File Denied" by Judge
                    Emmet G. Sullivan on 3/19/2018. This document is



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                      unavailable as the Court denied its filing. Signed by Judge
                      Emmet G. Sullivan on 3/19/2018. (hsj)
29       03/19/2018 LEAVE TO FILE DENIED- Three Quotes from Supreme Court
                    Justices as to MICHAEL T. FLYNN. "Leave to File Denied" by
                    Judge Emmet G. Sullivan on 3/19/2018. This document is
                    unavailable as the Court denied its filing. Signed by Judge
                    Emmet G. Sullivan on 3/19/2018. (hsj)
30       03/19/2018 LEAVE TO FILE DENIED- Quote From Judge Kurt
                    Engelhardt's Order and Reasons as to MICHAEL T. FLYNN.
                    "Leave to File Denied" by Judge Emmet G. Sullivan on
                    3/19/2018. This document is unavailable as the Court denied
                    its filing. Signed by Judge Emmet G. Sullivan on 3/19/2018.
                    (hsj)
31       03/20/2018 LEAVE TO FILE DENIED-Letter Regarding the Passing of
                    Stephen Hawking as to MICHAEL T. FLYNN. "Leave to File
                    Denied" by Judge Emmet G. Sullivan on 3/20/2018. This
                    document is unavailable as the Court denied its filing.. Signed
                    by Judge Emmet G. Sullivan on 3/20/2018. (hsj)
32       03/20/2018 LEAVE TO FILE DENIED- Emergency Moton to Intervene
                    Filed on Behalf of all Americans as to MICHAEL T. FLYNN.
                    "Leave to File Denied" by Judge Emmet G. Sullivan on
                    3/20/2018. This document is unavailable as the Court denied
                    its filing. Signed by Judge Emmet G. Sullivan on 3/20/2018.
                    (hsj)
33       03/20/2018 LEAVE TO FILE DENIED-Letter Regarding I Kings 23 as to
                    MICHAEL T. FLYNN. "Leave to File Denied" by Judge Emmet
                    G. Sullivan on 3/20/2018. This document is unavailable as the
                    Court denied its filing. Signed by Judge Emmet G. Sullivan on
                    3/20/2018. (hsj)
34       03/23/2018 LEAVE TO FILE DENIED- Letter Regarding the Actions of
                    Andrew McCabe, General Mike Flynn and Robert Mueller as
                    to MICHAEL T. FLYNN. "Leave to File Denied" by Judge
                    Emmet G. Sullivan on 3/23/2018. This document is
                    unavailable as the Court denied its filing. Signed by Judge
                    Emmet G. Sullivan on 3/23/2018. (hsj)
67       01/18/2019 LEAVE TO FILE DENIED-Motion to Dismiss Indictment for
                    Lack of Subject Matter Jurisdiction and Supplemental
                    Defense Sentencing Memorandum as to MICHAEL T. FLYNN
                    This document is unavailable as the Court denied its filing.
                    "Leave to File Denied" Signed by Judge Emmet G. Sullivan on
                    1/18/2019. (hsj)
68       01/18/2019 LEAVE TO FILE DENIED-Motion for Leave of Court to File
                    Amicus Curiae Brief as Sentencing Memorandum in Support



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                      of Defendant MICHAEL FLYNN as to MICHAEL T. FLYNN
                      This document is unavailable as the Court denied its filing.
                      "Leave to File Denied Signed by Judge Emmet G. Sullivan on
                      1/18/2018. (hsj)
69        02/13/2019 LEAVE TO FILE DENIED-Amicus Curiea Brief Supporting
                     Dismissal Due to Want of Federal Jurisdiction as to
                     MICHAEL T. FLYNN. This document is unavailable as the
                     Court denied its filing. "Leave to File Denied" Signed by Judge
                     Emmet G. Sullivan on 2/13/2019. (hsj)
70        03/06/2019 LEAVE TO FILE DENIED- Friend of Court Petition Certificate
                     of Service as to MICHAEL T. FLYNN This document is
                     unavailable as the Court denied its filing. "Leave to File is
                     Denied" by Judge Emmet G. Sullivan. Signed by Judge Emmet
                     G. Sullivan on 3/6/2019. (hsj)
139        11/16/2019 LEAVE TO FILE DENIED-Amicus Curiae Brief Supporting
                      Lack of Subject Matter Jurisdiction as to MICHAEL T.
                      FLYNN. This document is unavailable as the Court denied its
                      filing. "Leave to File is Denied" Signed by Judge Emmet G.
                      Sullivan on 11/16/2019. (hsj)
184      04/26/2020 LEAVE TO FILE DENIED-Request for Perserving Claim of
                    Error as to MICHAEL T. FLYNN. This document is
                    unavailable as the Court denied its filing. "Leave to File
                    Denied" Signed by Judge Emmet G. Sullivan on 4/26/2020.
                    (Attachments: # (1) Envelope) (zhsj)




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                          UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                              Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.



                                  [PROPOSED] ORDER

         Having considered Mr. Flynn’s Opposition to and Motion to Strike Notice of

Intent to File Motion for Leave to File Amicus Brief, and for good cause shown, it is

hereby ORDERED that:

         Leave to file the Notice of Intent to File Motion for Leave to File Amicus Brief is

denied.

         SO ORDERED.


Dated: ____________________                               ______________________
                                                          Emmet G. Sullivan
                                                          United States District Judge
